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                       UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


  RUMBLE INC.,
                             Plaintiff,
               - against -                           Case No. 8:23-cv-02718-CEH
  NANDINI JAMMI, CLAIRE ATKIN,
  and JOHN DOE NOS. 1-10,
                             Defendants.



   DEFENDANT NANDINI JAMMI’S RESPONSES AND OBJECTIONS TO
     PLAINTIFF RUMBLE INC.’S FIRST SET OF INTERROGATORIES

        Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Defendant

  Nandini Jammi (“Jammi”), by and through her undersigned attorneys, hereby respond

  and object to the First Set of Interrogatories (the “Interrogatories” or, singularly, an

  “Interrogatory”) of Plaintiff Rumble Inc. (“Rumble”).

        In responding to the Interrogatories, Jammi does not waive or intend to waive

  the attorney-client, work product, reporters’ privilege or any other privilege or

  immunity that otherwise would entitle them to refuse to produce the information they

  provide or agree herein, or to object to the use of such information or documents for

  any purpose, nor does Jammi waive or intend to waive such privileges with respect to

  subsequent interrogatories or any other form of discovery. Nor, in so responding, do

  Defendants concede the admissibility, relevance, or materiality to this action of the

  information they provide or agree to provide.
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        Discovery remains in its early stages and Jammi reserves the right to correct,

  amend, modify, or supplement its responses and objections to these Requests at any

  time in the future, as warranted by the circumstances. Jammi has not yet completed

  her investigation of the facts relating to this action. Jammi’s response to each

  interrogatory is based on information and documents currently available and obtained

  after a reasonable search. Therefore, responses provided herein are subject to change,

  and additional documents and information may be produced as Jammi acquires

  additional information and completes her review and analysis of information and

  documents obtained and to be obtained. To the extent Jammi obtains additional

  discoverable information or documents as a result of such investigation, she will

  comply with their obligations, if any, to supplement these responses. Therefore, the

  following answers are given without prejudice to Jammi’s right to provide, at or before

  the time of trial, subsequently discovered evidence, or evidence relating to proof of

  facts later discovered to be material, including evidence produced at trial by Jammi or

  her witnesses. Defendant’s answers must be construed as given on the basis of their

  present knowledge.

        Jammi notes that an appropriate and mutually agreeable protective order has

  not yet been entered in this action and produces these responses on an ATTORNEY’S

  EYES ONLY basis until they can be given a final confidentiality designation pursuant

  to a binding protective order. Jammi further notes that Defendants have filed a motion

  to stay discovery, which is fully briefed and pending. See Dkts. 46-47, 51, 55. These



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  responses are expressly subject to the outcome of that motion and, if a stay is granted,

  Jammi will not produce documents unless and until it is lifted.

                     SPECIFIC RESPONSES AND OBJECTIONS

  INTERROGATORY NO. 1

        Identify every Person involved with the Publications, including but not limited

  to every Person who participated in researching, drafting, editing, photo editing, fact-

  checking, or publishing the Publications.

  RESPONSE TO INTERROGATORY NO. 1

        Jammi objects to the Interrogatory as vague and ambiguous as to the meaning

  of “every Person involved with the Publications” and will interpret this to mean “every

  person” employed by Check My Ads “who participated in the researching, drafting,

  editing, … fact-checking, or publishing the Publications.” Jammi objects to the request

  for information about the “photo editing” of the Publications as irrelevant, and will

  not produce information in response to that portion of the request, because the

  Publications’ artwork is not at issue in this action. Jammi further objects to the term

  “editing” as vague and ambiguous and will interpret this term to exclude copy editing,

  which is not at issue in this action. Jammi further objects to this Interrogatory because

  it calls for information newsgathering and/or confidential source that is protected by

  Fla. Stat. § 90.5015, Md. Cts. & Jud. Proc. Code Ann. § 9-112, N.Y. Civ. Rights Law

  § 79-h, the Maryland, Florida and New York State Constitutions, the First and

  Fourteenth Amendments to the U.S. Constitution, and any other applicable statutory,

  constitutional, or common-law privilege that protects journalists from disclosing

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  unpublished material and/or information obtained during the course of their

  newsgathering activity including but not limited to the identity of their sources

  (collectively, the “Reporters’ Shield Laws”).

          Subject to these objections, Jammi responds as follows. Jammi was the author

  and publisher of Jammi’s August 16, 2023 Post, Jammi’s September 26, 2023 Post,

  Jammi’s October 3, 2023 Post (collectively, the “Jammi Posts”).1

          Atkin was the author and publisher of Atkin’s September 26, 2023 Post.

          The October 24, 2023 Article was published by Check My Ads Institute and

  written by its reporter Rachel Gilmore. The October 24, 2023 Article was edited by

  Brandon Hardin. Alec D’Angelo contributed research for the October 24, 2023

  Article.

  INTERROGATORY NO. 2

          For each Person Identified in response to Interrogatory No. 1, Identify which

  publication(s) they were involved with and describe their role (e.g., researching,

  writing, editing, publishing, etc.).

  RESPONSE TO INTERROGATORY NO. 2

          Jammi incorporates by reference her response and objections to Interrogatory

  No. 1 as her response and objections to this Interrogatory No. 2.




  1
    Unless otherwise stated, the defined terms Jammi’s August 16, 2023 Post, Atkin’s September 26, 2023 Post, Jammi’s
  September 26, 2023 Post, Jammi’s October 3, 2023 Post and October 24, 2023 Article (collectively, the “Statements
  in Suit”) shall have the same meaning as ascribed to them in the Definitions provided by Rumble. See Plaintiff
  Rumble’s First Set of Interrogatories to Defendant Nandini Jammi, ¶¶ 18-23.

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